                                                      Case Number:19-007108-CO

Filing #    Case 8:19-cv-02328-CEH-TGW
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                     E-Filed 08/26/2019 04:12:38 PM1-2 Filed 09/18/19 Page 1 of 16 PageID 8


                           IN    THE COUNTY COURT OF THE SIXTH JUDICIAL CIRCUIT
                                     IN AND FOR PINELLAS COUNTY, FLORIDA
                                                            CIVIL DIVISION

            DARA WRIGHT,
            an individual,                                                      Case No.:

                    Plaintiff,
            V.


            CAPITAL ONE BANK (USA), N.A.,
            a/k/a CAPITAL ONE SERVICES, LLC,
            a national association,


                    Defendant.
                                                                  /



                                                    VERIFIED COMPLAINT

                    COMES NOW, Plaintiff, DARA WRIGHT (hereinafter,                   “Plaintiff”),   by and through   the


            undersigned counsel, and hereby sues Defendant,             CAPITAL ONE BANK              (USA), N.A. a/k/a

            CAPITAL ONE SERVICES, LLC                (hereinafter, “Defendant”). In support thereof, Plaintiff states:


                                   INTRODUCTION AND PRELIMINARY STATEMENT

                    This   is   an action for damages brought by an individual consumer for Defendant’s Violations

            of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes (hereinafter, the

            “FCCPA”) and         the Telephone    Consumer     Protection Act, 47 United States Code, Section 227


            (hereinafter, the    “TCPA”), wherein Defendant repeatedly communicated           directly With Plaintiff in


            an attempt to collect the Debt despite Defendant possessing actual knowledge of Plaintiff’s legal

            counsel With respect to the Debt as well as possessing said legal counsel’s contact information,


            and Defendant also repeatedly made telephone              calls to Plaintiff’s cellular telephone   using an


            automatic telephone dialing system, predictive telephone dialing system, or an artiﬁcial or pre-


            recorded voice despite Defendant lacking Plaintiff’ s prior express consent to        make such calls.




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Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 2 of 16 PageID 9



                                         JURISDICTION AND VENUE

           1.     Jurisdiction     and venue    for purposes      of this action are conferred by Florida Statutes,


Section 559.77 and 47 United States Code, Section 227(b)(3).


        2.        This   is   an action for damages that exceeds $5,000.00 but                  is less   than $15,000.00,


exclusive of attorney’s fees and costs.


        3.        At   all   material times herein, Defendant’s conduct, complained of below, occurs in


Pinellas County, Florida.


        4.        At   all   material times herein, Plaintiff       is   an individual residing in Pinellas County,

Florida.


        5.        At   all   material times herein, Defendant            is   a national association With      its   principal


place of business located at 1680 Capital           One      Drive, Mclean, Virginia 22102.


                                      FCCPA STATUTORY STRUCTURE
        6.        The    FCCPA is       a state consumer protection statute, modeled after the Federal Fair


Debt Collection Practices Act, 15 United            States Code, Section 1692, a statute designed to prohibit


unfair, deceptive,     and abusive practices in the collection of consumer debts as well as                          to protect


against the invasion of individual privacy.             15 U.S.C. §§ 1692(a) and            (e); Fla. Stat.   §§ 559.55 and

559.77(5).


        7.        The    FCCPA        imposes   civil liability     on a      creditor that “offers or extends credit


creating a debt or to    Whom a debt is owed.       .
                                                        .”   and prohibits any person from engaging in particular

conduct in connection With collecting consumer debts. Fla.                      Stat. §   559.55(5).


           8.     Speciﬁcally, the      FCCPA prohibits unlawful debt collection “communications” With

consumer debtors, Which          is   deﬁned   as “the conveying of information regarding a debt directly 0r


indirectly to   any person through any medium.”               Fla. Stat. § 559.55(2)       (emphasis added).
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 3 of 16 PageID 10



           9.      For example, the       FCCPA         prohibits a person         from collecting consumer debt by

communicating With the consumer                 in a    manner        that   can be expected       to harass or    abuse the


consumer debtor, and also prohibits a person from communicating directly With a consumer known

to   be represented by legal counsel in an attempt to collect consumer debt When such person


possesses said legal counsel’s contact information. See Fla.                     Stat.   §§ 559.72(7) and (18).

                                   TCPA STATUTORY STRUCTURE

           10.     Congress enacted the         TCPA in          an   effort to restrict pervasive use      of automated or


prerecorded telephone calls that invade consumers’ personal privacy. Pub L. 102-243, §                                2,   Dec.


20, 1991, 105 Sta.     2394   (1), (5),   and   (10).


           11.     Congress intended to prevent automated or pre-recorded telephone                              calls as “the


only effective means ofprotecting telephone consumers from this nuisance and privacy invasion.”


Id. at    §§ (5) and (12).

           12.     Under the TCPA, any person Who initiates calls to any number assigned to a cellular

telephone service using any automated telephone dialing system or artiﬁcial or prerecorded voice


without the recipient’s prior express consent                is liable to    the recipient for actual monetary loss, or


up   to   $500.00 in damages for each Violation of the                   TCPA, whichever           is greater.   47 U.S.C. §


227(b)(3)(B).


           13.     Under the TCPA, the court may increase the damage award up                            to three (3) times,


or up to $1,500.00, for each willful or          knowing          Violation of the    TCPA. Id at      § 227(b)(3)(C).


           14.     Furthermore, the Restrictions on Use of Telephone Provision, 47, United States


Code, Section 227(b)(1) prohibits any person:


                   (A) To make any call (other than a call made for emergency purposes
                       or made With the prior express consent of the called party) using
                       any    automatic     telephone             dialing    system      or   an   artiﬁcial
                       prerecorded voice        —   (iii)   to   any telephone number assigned           to a
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 4 of 16 PageID 11



                       paging service, cellular telephone service,                    or any service for
                       Which the called party        is   charged for the     call.



        15.    Additionally,           Plaintiff alleges      that   Defendant continued to             call   her cellular


telephone using an automatic telephone dialing system (hereinafter, “ATDS”), a predictive


telephone dialing system (hereinafter, “PTDS”), or an artiﬁcial or pre-recorded voice (hereinafter,


“APV”)   in Violation      of the   FCC Rule,    47 C.F.R. Section 64. 1200(a)(1).

        16.    One of the          regulations prescribed under the           TCPA is the Federal Communications

Commission (“FCC”)’s rule, 47 C.F.R Section                  64. 1200      (“FCC   Rule”), that implements the      TCPA.

The FCC   originally promulgated the            FCC Rule in     1992, since Which time         it   has subsequently been


amended   as telecommunications technology has changed.


        17.    In    its   current state, the    FCC      Rule, 47 C.F.R. § 64.1200, provides, in relevant part,


that:



               (a)   No person or entity may:

               (1)     Except as provided in paragraph               (a)(2)   of   this section, initiate

               any telephone           call (other   than a call     made    for   emergency purposes
               or    is    made With    the prior express consent of the called party) using
               an automatic telephone dialing system or an artiﬁcial or prerecorded
               voice;




               (iii)      to   any telephone number assigned          to a    paging service, cellular
               telephone service, specialized mobile radio service, or other radio
               common carrier service,            or any service for Which the called party              is

               charged for the          call.



                                          GENERAL ALLEGATIONS
        18.    At      all     material times herein, Defendant              is   a “creditor” as deﬁned        by Florida

Statutes, Section 559.55(5).


        19.    At    all       material times herein, Plaintiff       is   a “debtor” or “consumer” as deﬁned           by

Florida Statutes, Section 559.55(8).
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 5 of 16 PageID 12



        20.      At     all    material times herein, Defendant attempts to collect debts, speciﬁcally


alleged balances due on consumer credit cards referenced                          by account numbers ending             in   -
and -6604 (hereinafter         collectively, the “Debt”).


        21.      At   all     material times herein, the Debt         is   consumer        debt, obligations resulting       from

transactions for goods or services and incurred primarily for personal, household, or family use.


        22.      At   all     material times herein, Defendant              is   a “person” subject to Florida Statutes,


Section 559.72. See Fla.           Stat.   §§ 559.55(5),   (7);    Schauer       v.   General Motors Acceptance Corp,

819 So. 2d 809    (Fla.     4th   DCA 2002).
        23.      At     all    material times herein, Defendant’s conduct With respect to the Debt


complained      of below           qualiﬁes     as   “communication”                  as   deﬁned    by Florida         Statutes,


Section 559.55(2).


        24.      At all material times herein, Defendant acted itselfor through its agents, employees,

ofﬁcers,    members,          directors,   successors,     assigns,        principals,      trustees,   sureties,   subrogees,


representatives, third-party vendors,          and   insurers.


        25.      A11 necessary conditions precedent to the ﬁling ofthis action occurred or Defendant


waived or excused the same.

                                            FACTUAL ALLEGATIONS

        26.      Defendant made telephone             calls, as     more speciﬁcally alleged below,              to Plaintiff’ s


cellular telephone    number 727-XXX-2843              (hereinafter, “Cellular             Telephone”) using an automatic


telephone     dialing     system      (hereinafter,    “ATDS”), a predictive telephone                        dialing    system


(hereinafter,   “PTDS”), or an        artiﬁcial or pre-recorded voice (hereinafter,                 “APV”).

        27.      Plaintiff the possessor, controller,              and regular user of a            cellular telephone With


assigned telephone number            727-XXX-2843        (i.e.,   Plaintiff’ s Cellular      Telephone).
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 6 of 16 PageID 13



          28.         At no time herein did Defendant possess           Plaintiff’s prior express     consent to call


Plaintiff” s Cellular       Telephone using an    ATDS,   a    PTDS,   or an   APV.

          29.         Further, if Defendant contends      it   did possess such consent at one point in time,


Plaintiff nonetheless        revoked any alleged prior existing consent the moment Plaintiff demanded


that   Defendant cease calling        Plaintiff’ s Cellular   Telephone and revoked any alleged prior express

consent the         moment    Plaintiff advised   Defendant that she was represented by an attorney With


respect to the       Debt and provided Defendant With said attorney’s contact information.

          30.         Additionally, if Defendant contends the below-referenced             phone   calls   were made

for “informational purposes only,”              Defendant nevertheless lacked the required prior express


written consent necessary to place such informational calls to Plaintiff’ s Cellular Telephone using


an   ATDS,      a   PTDS,   or an   APV.

          31.         On   or about January 31, 2019, Plaintiff retained Leavengood, Dauval                 &   Boyle,


P.A., d/b/a       LeavenLaw     (hereinafter,   “Undersigned Counsel”) With respect to her debts generally,


including the Debt allegedly          owed to Defendant, and       for the purpose     of ﬁling for bankruptcy.

          32.         On   or about February 7, 2019, Undersigned Counsel sent Defendant an electronic


message    (i.e.,     e-mail) (hereinafter, “Notice of Representation”). Please see a true and correct copy


of the Notice of Representation and corresponding facsimile delivery conﬁrmation labeled as

           ‘.”A
Exhibit


          33.         Defendant received the Notice of Representation.

          34.         The Notice of Representation provided Defendant With                   actual   knowledge of

Undersigned Counsel’s representation of Plaintiff With respect                  to the Debt,   provided Defendant


With actual knowledge of Undersigned Counsel’s contact information, and advised Defendant that


any    further      communications regarding the Debt should be sent            to   Undersigned Counsel’s ofﬁce.
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 7 of 16 PageID 14



See Ex. “A.”


         35.       Moreover, the Notice of Representation explicitly revoked any purported prior

express consent permitting Defendant to            make telephone       calls to Plaintiff’s Cellular    Telephone

using   ATDS, PTDS       or    APV. See Ex. “A.”

         36.       Despite Defendant possessing actual knowledge of Undersigned Counsel’s legal


representation of Plaintiff With respect to the Debt and despite Defendant possessing Undersigned


Counsel’s contact information, Defendant continued to communicate directly With                      Plaintiff, as


further detailed below,        and made each such communications             in   an attempt to collect the Debt


directly   from   Plaintiff.



         37.       Moreover, Defendant made each of the below-referenced                     calls to    Plaintiff’s


Cellular Telephone using an         ATDS, PTDS        and/or     APV   despite lacking Plaintiff’ s prior express


consent to do     so.


         38.       On   or about   March   12,   2019,   at   approximately 8:38   am.   E.T., despite   Defendant

possessing actual knowledge of Undersigned Counsel’s legal representation of Plaintiff with


respect to the Debt and possessing Undersigned Counsel’s contact information, Defendant                     made   a


call to Plaintiff” s Cellular    Telephone using an      ATDS, PTDS       and/or   APV and left a voicemail.

         39.       On   or about   March   18,   2019, at approximately 6:36       pm.   E.T., despite   Defendant


possessing actual knowledge of Undersigned Counsel’s legal representation of Plaintiff with


respect to the Debt and possessing Undersigned Counsel’s contact information, Defendant                     made   a


call to Plaintiff” s Cellular    Telephone using an      ATDS, PTDS       and/or   APV and left a voicemail.

         40.       On   or about   March   19,   2019, at approximately 3:36       pm.   E.T., despite   Defendant


possessing actual knowledge of Undersigned Counsel’s legal representation of Plaintiff with


respect to the Debt and possessing Undersigned Counsel’s contact information, Defendant                     made   a
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 8 of 16 PageID 15



call to Plaintiff” s Cellular      Telephone using an          ATDS, PTDS     and/or   APV and left a voicemail.

        41.       On      or about   March    24, 2019, at approximately 7:5 1         pm.      E.T., despite       Defendant


possessing actual knowledge of Undersigned Counsel’s legal representation of Plaintiff with


respect to the Debt and possessing Undersigned Counsel’s contact information, Defendant                               made   a


call to Plaintiff” s Cellular      Telephone using an          ATDS, PTDS     and/or   APV and left a voicemail.

        42.       Defendant made each of the above-referenced telephone                            calls    from telephone

number 800.955.6600          in   an attempt to collect the Debt directly from             Plaintiff.



        43.       Further,    on   at least   one    (1)   of the above-referenced   calls, Plaintiff heard silence for



several seconds before hearing a person or                 message on the other end of the        line.



        44.       As      a direct result of Defendant’s actions, Plaintiff suffered emotional distress,


anxiety,    inconvenience,           frustration,        annoyance,   and   confusion,       believing       that    retaining


Undersigned Counsel With respect               to the      Debt and advising Defendant of the same was Wholly

ineffective,   and   that Defendant’s frequent, repeated,             and invasive Debt collection attempts would

simply have to be endured.


        45.       It is   Defendant’s corporate policy to use an            ATDS,      a   PTDS    and/or an    APV When

attempting to collect consumer debts, including the Debt (hereinafter, “Corporate Policy”).


        46.       Defendant employed               its   Corporate Policy of using an        ATDS,      a   PTDS    and/or an


APV When Defendant made the telephone calls to Plaintiff’ s Cellular Telephone in this case.

        47.       Defendant made the telephone                   calls to Plaintiff’ s Cellular     Telephone With no

effective   way   for Plaintiff to     remove her Cellular Telephone number from Defendant’s telephone

dialing system.


        48.       Defendant made          calls,   or caused calls to be made, to Plaintiffwith no effective             way

for   Defendant to remove            Plaintiff’s Cellular       Telephone number from Defendant’s telephone
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 9 of 16 PageID 16



dialing system.


         49.      Defendant’s Corporate Policy provides no effective                       way   for a    consumer    to


effectively revoke    any prior existing consent           to   be called by Defendant using an          ATDS, PTDS

and/or   APV to make Defendant cease calling a cellular telephone.

         50.      Defendant’s Corporate Policy and procedures are structured as to continue to                      call


individuals like Plaintiff using an     ATDS,        a   PTDS,   or an   APV,   regardless of how    many times     said


individuals request that Defendant cease calling a cellular telephone regarding a debt allegedly


owed to Defendant.

         5 1.     Upon   information and belief, Defendant engaged in a pattern and practice of


unlawful debt collection and invasion of privacy, repeatedly and willfully calling consumers’


cellular telephones in   an attempt to collect debts, using an            ATDS,    a   PTDS   and/or an   APV despite

lacking consumers’ prior express consent to do so.


         52.      Defendant   willfully,     knowingly, and repeatedly undertakes these practices to


increase revenue and proﬁtability at the direct expense of consumers’ livelihoods and privacy.


         53.      Plaintiff has not   been   able,   due   to   both professional and personal commitments, as


well as the continued and increasing stress associated With the continued barrage ofDebt collection


calls, to   record the speciﬁcs (as done above) on each and every communication Defendant                         made

to Plaintiff.   Plaintiff asserts,   however, that the above-referenced                calls are but a sub-set    of the


communications Defendant made in Violation of the                  FCCPA and TCPA.          Further, Defendant is in


the best position to determine and ascertain the           number and methodology of calls made to            Plaintiff.



         54.      Plaintiff retained   Undersigned Counsel for the purpose of pursuing                     this   matter


against Defendant, and Plaintiff is obligated to           pay her attorneys a reasonable        fee for their services.


         55.      Despite having advised Defendant of Undersigned Counsel’s representation of
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 10 of 16 PageID 17



 Plaintiffs   With regard to the Debt, Defendant continues to attempt to collect the Debt directly from


 Plaintiff in Violation   of the   FCCPA.

         56.        Defendant’s conduct, as described above,            is   a knowing, willful, and continuing


 Violation of Plaintiff’ s rights, as enumerated under Florida state law.


         57.        Given Defendant’s conduct and           its   apparent intention and ability to continue to


 collect the   Debt   directly   from   Plaintiff in Violation    of said debt collection laws, Plaintiff has no


 adequate remedy      at law.


         58.        Florida Statutes, Section 559.77 provides for the award of $1,000.00 statutory


 damages, actual damages, punitive damages, declaratory and injunctive                    relief,   and an award of

 attorneys’ fees    and costs    to Plaintiff, should Plaintiff prevail in this matter against Defendant.


         59.        United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00


 or actual damages, whichever         is greater,   for each telephone call     made, directly or    indirectly, using


 any   ATDS    or   APV to   Plaintiff’s Cellular    Telephone in Violation of the       TCPA       or the regulations


 proscribed thereunder.


         60.        Additionally, the     TCPA,     Section 227(b)(3) allows the       trial   court to increase the


 damages up     to three times, or $ 1 ,500.00, for    each telephone    call   made, directly or    indirectly, using


 any automatic telephone dialing system or an            artiﬁcial or prerecorded voice to Plaintiff’ s Cellular


 Telephone in willful or knowing Violation of the           TCPA or the regulations proscribed thereunder.

         61.        As of the    date of this complaint, Defendant did not initiate a law suit in an effort to


 collect the Debt.     Likewise, no ﬁnal judgment With respect to the Debt has been obtained by, or


 transferred to, Defendant.


                                    COUNT ONE:
                        UNLAWFUL DEBT COLLECTION PRACTICE —
                    VIOLATION OF FLORDA STATUTES, SECTION 559.72(7)


                                                           10
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 11 of 16 PageID 18



          Plaintiff re-alleges paragraphs           one   (1)   through sixty-one (61) as   if fully restated herein   and

 further states as follows:


           62.      Defendant     is    subject to, and violated the provisions of, Florida Statutes, Section


 559.72(7) by collecting consumer Debt from Plaintiff through means which can reasonably be


 expected to abuse or harass           Plaintiff.



           63.       Speciﬁcally, Defendant received both the Notice of Representation Which provided


 explicit notice that Plaintiff retained             Undersigned Counsel With respect           to the Debt,    provided


 Defendant With Undersigned Counsel’s contact information, and revoked any prior express


 consent permitting Plaintiff to          make      calls to Plaintiff’s Cellular   Telephone, and Defendant       made

 at least four (4) calls to Plaintiff” s Cellular Telephone using an            ATDS, PTDS and/or APV in March

 2019 in   its   attempts to collect the Debt directly from Plaintiff.


           64.      Defendant’s conduct served no purpose other than to annoy and harass Plaintiffinto


 paying the Debt by continuing to impermissibly and unlawfully                    call Plaintiff” s Cellular   Telephone

 in   an attempt to collect the Debt—circumventing Undersigned Counsel’s legal representation of

 Plaintiff with respect to the            Debt—leading          Plaintiff to believe that she    simply must endure

 Defendant’s repeated and invasive Debt collection communications or                             make   a payment to


 Defendant on the Debt.

           65.      Defendant’s willﬁll, and ﬂagrant Violation                of, inter alia,   the Florida    Consumer

 Collections Practices Act as a              means     to collect the Debt, constitutes unlawful          conduct and


 harassment as      is   contemplated under Florida Statutes, Section 559.72(7).


           66.      As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages

 as   deﬁned by Florida      Statutes, Section 559.77.




                                                                  11
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 12 of 16 PageID 19



                                      COUNT TWO:
                           UNLAWFUL DEBT COLLECTION PRACTICE —
                   VIOLATION OF FLORIDA STATUTES, SECTION 559.72(18)

          Plaintiff re-alleges paragraphs        one    (1)   through sixty-one (61) as    if fully restated herein       and

 further states as follows:


          67.       Defendant     is   subject    to,    and violated the provisions             of,   Florida      Statutes,


 Section 559.7208)        by   intentionally   and repeatedly communicating directly with                   Plaintiff after


 receiving notice and possessing actual knowledge that Plaintiff retained Undersigned Counsel With


 respect to the    Debt and    after possessing    Undersigned Counsel’s contact information.

          68.       Speciﬁcally, Plaintiffprovided Defendant With actual knowledge that Undersigned


 Counsel represented Plaintiff With respect to the Debt and provided Defendant With Undersigned

 Counsel’s contact information Via the Notice of Representation.


          69.       Despite    Defendant possessing actual knowledge of Undersigned Counsel’s


 representation of Plaintiffwith respect to the Debt and Undersigned Counsel’s contact information,


 Defendant subsequently made repeated telephone                      calls directly to Plaintiff in    March 2019        in   its



 attempt to collect the Debt, making at least four (4) telephone calls directly to Plaintiff’ s Cellular


 Telephone.


          70.       As   such, Defendant attempted to collect the             Debt   directly   from   Plaintiff,   a   known

 represented party in Violation of Florida Statutes, Section 559.72(1 8).


          7 1.      As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages

 as   deﬁned by Florida     Statutes, Section 559.77.


                                      COUNT THREE:
                           TELEPHONE CONSUMER PROTECTION ACT-
                 VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

          Plaintiff re-alleges paragraphs        one    (1)   through sixty-one (61) as    if fully restated herein       and




                                                                12
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 13 of 16 PageID 20



 further states as follows:


          72.     Defendant    is   subject to, and violated the provisions of, 47 United States Code,


 Section 227 (b)(1)(A)     by using an ATDS, PTDS and/or APV to make a telephone                    call to a   number

 assigned to a cellular telephone service without Plaintiff’ s prior express consent.


          73.     At no time herein did Defendant possess              Plaintiff’s prior express     consent to call


 Plaintiff” s Cellular   Telephone using an      ATDS,     a   PTDS   and/or an   APV.

          74.     If   Defendant contends        it   possessed such consent, Plaintiff revoked any such


 purported consent the     moment     Plaintiff requested that      Defendant cease calling Plaintiff regarding


 the   Debt and revoked any such purported consent the moment               Plaintiff advised   Defendant that she


 retained Undersigned Counsel as legal counsel With respect to the                 Debt and provided Defendant

 With Undersigned Counsel’s contact information.


          75.     Additionally, if Defendant contends the referenced                phone   calls   were made       for


 “informational purposes only,”       it   nevertheless lacked the required prior express consent necessary


 to   make such   informational calls to Plaintiff’ s Cellular Telephone using an           ATDS, PTDS           and/or


 APV.

          76.     More     speciﬁcally,      after    Plaintiff   advised   Defendant that Plaintiff retained


 Undersigned Counsel With respect              to the Debt,       asked that Defendant stop calling Plaintiff


 regarding the Debt, and asked that Defendant direct any communications regarding the Debt to


 Undersigned Counsel’s ofﬁce, Defendant subsequently made at least four                     (4) calls to Plaintiff’s


 Cellular Telephone using an        ATDS, PTDS         and/or   APV.

          77.     The telephone      calls   made by Defendant complained of herein             are the result of a


 repeated willful and knowing Violation of the           TCPA.

          78.     As   a direct and proximate result of Defendant’s conduct, Plaintiff suffered:




                                                           13
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 14 of 16 PageID 21



                 a.           The periodic   loss   of her Cellular Telephone service and the cost associated


        therewith;


                 b.           Lost material costs associated With the use of peak time minutes allotted


        under her Cellular Telephone service contract; and


                 c.           Stress, anxiety, loss     of   sleep, invasion         of privacy, and deterioration of


        relationships, both personal          and professional, as a              result    of the repeated willful and

        knowing       calls   placed in Violation of the     TCPA.

                                             PRAYER FOR RELIEF
        WHEREFORE,                as a direct   and proximate            result    of Defendant’s conduct, Plaintiff


 respectfully requests an entry of:


                 a.           Judgment against Defendant declaring                that   Defendant violated the    FCCPA;

                 b.           Judgment against Defendant          for   maximum statutory damages             for Violations


        of the   FCCPA;

                 c.           Judgment providing injunctive             relief,   prohibiting Defendant from further


        engaging in conduct that violates the           FCCPA;

                 d.           Judgment against Defendant             for statutory         damages       in the   amount of

        $500.00 for each of Defendant’s telephone                 calls that violated the       TCPA;

                 e.           Judgment against Defendant             for treble          damages   in the    amount of an

        additional $1,000.00 for each telephone call that violated the                      TCPA     for   which Defendant

        acted knowingly and/or willfully;


                 f.           Actual damages in an amount to be determined                   at trial;


                 g.           An award of attorneys’     fees     and   costs;    and

                 h.           Any other such relief the      Court      may deem proper.



                                                             14
Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 15 of 16 PageID 22



                                     DEMAND FOR JURY TRIAL
        Plaintiff hereby     demands a trial by jury on      all   issues triable   by right.

               SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

        Plaintiff     hereby gives notice to Defendant and demands that Defendant and             its   afﬁliates


 safeguard   all   relevant evidence—paper, electronic documents, or data—pertaining to this litigation


 as required   by   law.


                                                  Respectfully submitted,

                                                  LEAVENLAW

                                                  /s/Sean E. McEleneV
                                                  D Ian R. Leavengood, Esq., FBN 0010167
                                                  [X] Sean E. McEleney, Esq., FBN 0125561
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Case 8:19-cv-02328-CEH-TGW Document 1-2 Filed 09/18/19 Page 16 of 16 PageID 23



                                                                                                                                       I




                          VERIFI ATION 0F co                                 T          ERTIHCATI

    STATE OF FLORDA                                      )

                                                         )

    COUNTYOFML’)’                                               ’




    Plaintiff      DARA WRIGHT, having ﬁrst been duly sworn and upon oath, deposes and says as follows:
    l.     I   am a Plaintiﬁ'in this civil proceeding.

    2.     I   have read the above-entitled civil Complaint prepared by my attorneys and                  I   believe that all of


           the facts contained in       it   are true, to the best   ofmy lmowledge, information and belief formed aﬁer

           reasonable inquiry.


           I   believe that this civil Complaint         is   well grounded in fact and warranted by existing law or by a


           good faith argument for the extension, modiﬁcation, or reversal of existing law.

           I   believe that this civil Complaint         is   not interposed for any improper purpose, such as to harass


           any Defendanqs), cause unneceséary delay to any Defendant(s), or create a needless increase                            in


           the cost oflitigation to any Defendant(s),               named in the Complaint.

           I   have ﬁled this   civil   Complaint in good faith and solely for the pulposes set forth            in   it.




           Each and every       exhibit       which has been attached       to this Complaint, if any,   is   a ﬂue and correct


           copy ofthe orig'nal.

           Except for clearly indicated redactions made by                    my   attorneys   where appropriate,       I   have not


           altered,   changed, modiﬁed, or fabricated any exhibits, except that some of the attached exhibits,


           if any,   may contain some of my own handwritten

                                                                            @621»               WMM
    Subscribed and sworn to before
    this       I   day ofﬁUéUST, 201:


    My Commission Expires: 084'? -ZOZl                               Proof of I.D.:



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                       Comm         No.
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